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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF VERMONT




UCB, INC., UCB MANUFACTURING
IRELAND LIMITED, UCB PHARMA GMBH,
and LTS LOHMANN THERAPIE-SYSTEME
AG,
                                                        Case No. 2:19-cv-148
                      Plaintiffs,
               v.

MYLAN TECHNOLOGIES, INC.,
              Defendants.




                         Stipulation and Order for Dismissal

       1.      Plaintiffs’ claims against Mylan as pled in the above-captioned action with respect

to U.S. Patent Nos. 7,413,747 (“the ’747 Patent”); 8,246,979 (“the ’979 Patent”); 8,246,980 (“the

’980 Patent”); and 8,617,591 (“the ’591 Patent”) (collectively the “Covenant Patents”) are hereby

dismissed with prejudice in accordance with a Covenant Not to Sue dated June 16, 2020 (the

“Covenant”). This dismissal is made without prejudice to Plaintiffs’ ability to assert the Covenant

Patents for any other ANDA or as provided in the Covenant.

       2.      Plaintiffs’ claims against Mylan as pled in the above-captioned action with respect

to U.S. Patent No. 6,884,434 are hereby dismissed without prejudice.

       3.       Mylan’s counterclaims solely directed to the 6,699,498 patent are dismissed with

prejudice. Mylan reserves all other rights with respect to the Covenant Patents.

       4.      Each party will bear its own attorney’s fees and costs.




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/s/ Kendall Hoechst
       Counsel for Plaintiffs


/s/_Paul J. Perkins
        Counsel for Mylan


SO ORDERED:

       /s/ William K. Sessions III
       William K. Sessions III
       United States District Court Judge




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Dated: July 17, 2020




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